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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                   )
  LILIAN PAHOLA CALDERON JIMENEZ,                  )
  and LUIS GORDILLO, et al.,                       )
                                                   )
  Individually and on behalf of all others         )
  similarly situated,                              )
                                                   )     No. 1:18-cv-10225-MLW
              Plaintiffs-Petitioners,              )
                                                   )
         v.                                        )
                                                   )
  ALEJANDRO MAYORKAS, et al.,                      )
                                                   )
              Defendants-Respondents.              )
                                                   )


                                   JOINT STATUS REPORT

       On March 27, 2024, this Court ordered the parties to confer and report by April 26, 2024,

on the status of settlement negotiations, and further ordered that this case is otherwise stayed.

Dkt. No. 635. The parties have conferred, and report as follows:

       1.      The parties continue to engage in settlement discussions, in that Petitioners

submitted a revised settlement proposal to Respondents on April 10, 2024, following a meet-and-

confer on April 1, 2024. Respondents then submitted a modified settlement proposal to

Petitioners on April 17, 2024, and Petitioners provided further revisions on April 19, 2024.

       2.      The parties respectfully request that the case remain stayed to provide the

opportunity for further settlement discussions. The parties jointly request the case remain stayed

until May 24, 2024, by which time the parties will file a subsequent report on the parties’

progress regarding settlement. If material progress has not been made by the next status report,

one or both parties may request that the Court schedule a status conference, at the Court’s

earliest convenience, to discuss appropriate steps to conclude the litigation.
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Respectfully submitted this 25th day of April 2024.

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